         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                         No. 1D2023-2936
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YOUNG KIDS IN MOTION
ACADEMY, INC./ASCENDANT
CLAIMS SERVICES,

    Appellants,

    v.

TOINETTE WELLS,

    Appellee.
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On appeal from the Office of the Judges of Compensation Claims.
Ralph Joyner Humphries, Judge.

Date of Accident: August 30, 2022.


                        August 23, 2024

PER CURIAM.

    AFFIRMED.

RAY, BILBREY, and LONG, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Kimberly J. Fernandes of Kelley Kronenberg, P.A., Tallahassee,
for Appellants.

Holley N. Akers of O’Rourke &amp; Akers, P.A., Jacksonville, for
Appellee.




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